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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 M.K.,

                                  Petitioner,                       No. 25 Civ. 1935 (JMF)
               - against -
                                                                          NOTICE OF
 WILLIAM P. JOYCE; et al.,                                               APPEARANCE

                                  Respondents.



   TO:    Clerk of Court
          United States District Court
          Southern District of New York

          The undersigned attorney respectfully requests the Clerk to note his appearance in this case

   as counsel for Respondents and to add him as a Filing User to whom Notices of Electronic Filing

   will be transmitted in this case.

   Date: New York, New York
         March 10, 2025
                                                       Respectfully submitted,


                                                       MATTHEW PODOLSKY
                                                       Acting United States Attorney for the
                                                       Southern District of New York

                                                 By:                /s/
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